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         EXHIBIT 157
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                                                                                  Page 1
                   IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN OF CALIFORNIA
                             SAN FRANCISCO DIVISION
        ____________________________
        RICHARD KADREY, e al.,                   )
        Individual and                           )
        Representative,                          )
                                                 )
                      Plaintiffs,                )
                                                 )
        v.                                       )     Case No. 3:23-cv-03417-VC
                                                 )
        META PLATFORMS, INC.,                    )
                                                 )
                      Defendant.                 )
        ____________________________)


             ** HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY **


                  Videotaped Deposition of CHAYA NAYAK
                           San Francisco, California
                           Thursday, October 31, 2024


                         Reported Stenographically by
                  Michael P. Hensley, RDR, CSR No. 14114


        ______________________________________________________
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                                                                               Page 231
   1     pretraining, that that's a mitigation?

   2            A.      That would be how I'd interpret this based

   3     on this reading.

   4            Q.      And you don't know how that mitigation or

   5     filtering would happen?

   6            A.      I do not.

   7            Q.      Do you -- is it possible that it could

   8     happen the same way that filtering out bias happens?

   9     By feeding the model copyrighted material to train

 10      it not to output it?

 11                     ATTORNEY WEINSTEIN:               Object to form.

 12                     THE WITNESS:           I'm unsure.

 13      BY ATTORNEY POUEYMIROU:

 14             Q.      Okay.      And then when we go to fine-tuned,

 15      I take it that this is the posttraining part of the

 16      pipeline, fine-tuning.                And you -- here you have

 17      copyright memorization mitigations.

 18                     How do you interpret that?

 19             A.      I just want to make it clear I did not

 20      write this document.

 21             Q.      I know.       I know.

 22             A.      You said "you have"; that's why I was --



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                                                                               Page 232
   1            Q.      Okay.

   2            A.      Can you repeat the question.

   3            Q.      Yes.

   4                    So in the fine-tuned section where you

   5     have copyright memorization mitigations, what does

   6     that refer to?

   7            A.      I'm not sure based on this.

   8            Q.      Okay.      And so is it fair to say that at

   9     this point in time, which is just about a year and a

 10      few months ago, when you joined GenAI, Meta has

 11      mitigations at the pretraining level with respect to

 12      how to deal with copyrighted material, and it has

 13      mitigations with respect to copyright and

 14      memorization at the fine-tuning level?

 15                     ATTORNEY WEINSTEIN:               Object to form.

 16                     THE WITNESS:           Based on reviewing this

 17      document, I could see that interpretation, yes.

 18      BY ATTORNEY POUEYMIROU:

 19             Q.      And do you have any sense of how you might

 20      mitigate memorization in fine-tuning?

 21             A.      Yes.     I could.         I could -- I have ideas on

 22      how we might do that.



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                                                                               Page 233
   1            Q.      And how would you do it?

   2            A.      Similar to other mitigations that we do in

   3     fine-tuning.         We ask the model a question --

   4            Q.      Mm-hmm.

   5            A.      -- and we direct it towards a specific

   6     response.

   7                    Excuse me.         I need to cough.

   8                    Sorry.

   9            Q.      No problem.

 10             A.      So we might teach the model to not

 11      respond.

 12             Q.      And is it fair to say that the -- Meta is

 13      attempting to mitigate the model outputting

 14      copyrighted work because it is trained on

 15      copyrighted work?

 16                     ATTORNEY WEINSTEIN:               Object to form.

 17                     THE WITNESS:           Not necessarily.

 18      BY ATTORNEY POUEYMIROU:

 19             Q.      So how -- why would there be a -- an issue

 20      with a -- why would a copyright mitigation exist if

 21      copyrighted material didn't appear in training data?

 22             A.      I'm not sure.           I -- I could imagine a



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   1                  CERTIFICATE OF SHORTHAND REPORTER

   2

   3            I, Michael P. Hensley, Registered Diplomate

   4     Reporter for the State of California, CSR No. 14114,

   5     the officer before whom the foregoing deposition was

   6     taken, do hereby certify that the foregoing

   7     transcript is a true and correct record of the

   8     testimony given; that said testimony was taken by me

   9     stenographically and thereafter reduced to

 10      typewriting under my direction; that reading and

 11      signing was not requested; and that I am neither

 12      counsel for, related to, nor employed by any of the

 13      parties to this case and have no interest, financial

 14      or otherwise, in its outcome.

 15

 16

 17

 18                              ___________________________________

 19                                       Michael P. Hensley, CSR, RDR

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 21

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